      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 1 of 8                        FILED
                                                                                     2023 May-03 PM 02:12
                                                                                     U.S. DISTRICT COURT
                                                                                         N.D. OF ALABAMA


                                                                      PFE/GAM/CLC: May 2023

                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA                      )
                                              )
      v.                                      )
                                              )
DEXTER SHERROD PEARCE                         )

                                 INFORMATION

The United States Attorney charges:

                                   Count One
                                   Conspiracy
                    Title 18, United States Code, Section 371

      1. From in or about May 2020, and continuing until in or about August 2022,

the exact dates being unknown, within Jefferson County in the Northern District of

Alabama, and elsewhere, defendant

                         DEXTER SHERROD PEARCE

knowingly and willfully conspired, combined, and agreed with others known and

unknown to:

      (a) transport in interstate commerce a motor vehicle knowing the same
      to have been stolen, in violation of Title 18, United States Code, Section
      2312;

      (b) receive, possess, conceal, store, barter, sell, or dispose of any motor
      vehicle which has crossed a State or United States boundary after being
      stolen, knowing the same to have been stolen, in violation of Title 18,
      United States Code, Section 2313; and
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 2 of 8




      (c) buy, receive, possess, or obtain control of, with intent to sell or
      otherwise dispose of, a motor vehicle or motor vehicle part, knowing
      that an identification number for such motor vehicle or part has been
      removed, obliterated, tampered with, or altered, in violation of Title 18,
      United States Code, Section 2321.

               MANNER AND MEANS OF THE CONSPIRACY

      2. It was a part of the conspiracy that defendant DEXTER SHERROD

PEARCE and coconspirators would and did steal motor vehicles from automobile

dealerships and individual victims in states other than Alabama, including

Mississippi, Georgia, South Carolina, and Kentucky, and transport the stolen motor

vehicles to the Northern District of Alabama to sell.

      3.     It was a further part of the conspiracy that defendant DEXTER

SHERROD PEARCE and coconspirators would and did steal motor vehicles from

automobile dealerships and individual victims in the Northern District of Alabama

and transport the stolen motor vehicles to other states to sell.

      4.   It was a further part of the conspiracy that defendant DEXTER

SHERROD PEARCE and coconspirators would and did cause vehicle

identification numbers (VINs) to be altered on stolen motor vehicles to conceal that

the motor vehicles were stolen and facilitate the sale of the stolen motor vehicles.

      5.     It was a further part of the conspiracy that defendant DEXTER

SHERROD PEARCE and coconspirators would and did obtain false bills of sale

and tag applications to conceal that the motor vehicles were stolen and facilitate the


                                           2
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 3 of 8




sale of the stolen motor vehicles.

      6.      It was a further part of the conspiracy that defendant DEXTER

SHERROD PEARCE and coconspirators would and did use these false documents

to obtain motor vehicle titles and registrations to conceal that the motor vehicles

were stolen and facilitate the sale of the stolen motor vehicles.

      7.     It was a further part of the conspiracy that defendant DEXTER

SHERROD PEARCE would and did receive money, drugs, and stolen motor

vehicles as compensation for participating in the conspiracy.

                                     OVERT ACTS

      In furtherance of the conspiracy and to achieve the objects thereof, the

conspirators committed and caused to be committed the following overt acts, among

others, in the Northern District of Alabama and elsewhere:

      8. From in or about May 2020, and continuing through in or about August

2022, defendant DEXTER SHERROD PEARCE and coconspirators stole and

transported from one state to another at least 24 motor vehicles with a total fair

market value of at least $1.6 million. The VINs on some of these stolen motor

vehicles were removed, obliterated, tampered with, or altered by defendant

DEXTER SHERROD PEARCE and coconspirators.

      9. On or about May 25, 2020, defendant DEXTER SHERROD PEARCE

and coconspirators stole a 2015 Dodge Challenger SXT from a dealership in Oxford,


                                           3
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 4 of 8




Alabama, and transported it to Coweta County, Georgia.

      10. On or about December 15, 2020, defendant DEXTER SHERROD

PEARCE possessed and transported to Cummings County, Georgia, a 2018 BMW

X5 SUV stolen by a coconspirator from an individual victim in Homewood,

Alabama.

      11.   On or about January 23, 2021, defendant DEXTER SHERROD

PEARCE and coconspirators stole a 2018 Dodge Challenger Demon from a

dealership in Carrollton, Georgia, and transported it to Vestavia Hills, Alabama.

      12.   On or about January 24, 2021, defendant DEXTER SHERROD

PEARCE and coconspirators stole two 2021 Dodge Challenger Scat Packs from a

dealership in Carrollton, Georgia, and transported them to the Northern District of

Alabama.

      13. On or about November 9, 2021, defendant DEXTER SHERROD

PEARCE and coconspirators stole a 2021 Ford Shelby Mustang GT 500 from a

dealership in Winchester, Tennessee, and transported it to the Northern District of

Alabama.

      14. On or about November 29, 2021, defendant DEXTER SHERROD

PEARCE and coconspirators possessed with intent to sell or otherwise dispose of a

stolen 2021 Ford Expedition with an altered VIN.

      15. On or about December 22, 2021, defendant DEXTER SHERROD


                                         4
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 5 of 8




PEARCE and coconspirators stole a 2021 Ford Mustang, a 2020 Dodge Challenger,

and a 2019 Ford F-250 from a dealership in Rome, Georgia, and transported the

stolen motor vehicles to Birmingham, Alabama.

      16.   On or about January 5, 2022, defendant DEXTER SHERROD

PEARCE and coconspirators possessed with intent to sell or otherwise dispose of a

2022 Lincoln Aviator and a 2018 Ford F-150 Raptor, both of which were stolen and

had an altered VIN.

      17.   On or about January 8, 2022, defendant DEXTER SHERROD

PEARCE and coconspirators stole a 2021 Ford Shelby Mustang GT 500, a 2020

Jeep Grand Cherokee Track Hawk, and a 2017 Ford F-450 Lariat from a dealership

in Jasper, Georgia, and transported the stolen motor vehicles to Birmingham,

Alabama.

      18.   On or about January 19, 2022, defendant DEXTER SHERROD

PEARCE and coconspirators stole a 2021 Ford F-350 Super Duty King Ranch and

a 2019 Dodge Ram 3500 from a dealership in Meridian, Mississippi, and transported

the stolen motor vehicles to Birmingham, Alabama.

      19.   On or about February 22, 2022, defendant DEXTER SHERROD

PEARCE and coconspirators stole a Ford F-150 Rocky Ridge and a Ford F-250

from a dealership in Columbus, Mississippi, and transported the stolen motor

vehicles to Bessemer, Alabama.


                                       5
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 6 of 8




      20.   On or about February 28, 2022, defendant DEXTER SHERROD

PEARCE and coconspirators stole a 2021 Dodge Durango SRT Hellcat, a 2021

Dodge Charger SRT, and a 2022 Dodge Ram 1500 from a dealership in Seneca,

South Carolina, and transported, or intended to transport, the stolen motor vehicles

to Birmingham, Alabama.

      21. On or about March 9, 2022, defendant DEXTER SHERROD PEARCE

and coconspirators possessed with intent to sell or otherwise dispose of a 2020

Cadillac XT6 Premium Luxury which was stolen and had an altered VIN.

      22. On or about August 3, 2022, defendant DEXTER SHERROD PEARCE

and coconspirators stole a 2021 Ford Mustang from a dealership in Shelbyville,

Tennessee, and transported it to Bessemer, Alabama.

      All in violation of Title 18, United States Code, Section 371.

                                    Count Two
                     Transportation of Stolen Motor Vehicle
                    Title 18, United States Code, Section 2312

      23. The factual allegations in paragraphs 1 through 22 of this Information and

realleged as though specifically set forth herein.

      24. On or about August 3, 2022, within Jefferson County in the Northern

District of Alabama, and elsewhere, defendant

                         DEXTER SHERROD PEARCE

did unlawfully transport in interstate commerce a stolen motor vehicle, that is, a


                                          6
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 7 of 8




2021 Ford Mustang, from Shelbyville, Tennessee, to Jefferson County, Alabama,

knowing the same to have been stolen.

      All in violation of Title 18, United States Code, Section 2312.

                           NOTICE OF FORFEITURE

      1.     The allegations contained in Counts One and Two of this Information

are incorporated by reference for the purpose of alleging forfeiture pursuant to 18

U.S.C. § 982(a)(5), 18 U.S.C. § 981(a)(1)(F), and 28 U.S.C. § 2461(c).

      2.     Upon conviction of the offenses charged in Counts One and Two of this

Information, the defendant shall forfeit to the United States, pursuant to 18 U.S.C. §

982(a)(5), 18 U.S.C. § 981(a)(1)(F), and 28 U.S.C. § 2461(c), any property, real or

personal, which constitutes or is derived from proceeds traceable to the violation.

      3.     The property to be forfeited includes, but is not limited to, a money

judgment in the amount of $227,615.00, representing the proceeds obtained from the

offense.

      4.     If any of the property described above, because of any act or omission

of the defendant:

             a.     cannot be located upon the exercise of due diligence;

             b.     has been transferred or sold to, or deposited with, a third party;

             c.     has been placed beyond the jurisdiction of the court;

             d.     has been substantially diminished in value; or,


                                           7
      Case 2:23-cr-00160-ACA-GMB Document 1 Filed 05/03/23 Page 8 of 8




             e.     has been commingled with other property which cannot be

             divided without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to 21

U.S.C. § 853(p), as incorporated by 28 U.S.C. § 2461(c).

                                               PRIM F. ESCALONA
                                               United States Attorney



                                               /s/ Electronic Signature
                                               GEORGE A. MARTIN, JR.


                                               /s/ Electronic Signature
                                               CATHERINE L. CROSBY
                                               Assistant United States Attorneys




                                           8
